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8                    IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         1:05-CR-0204-AWI
                                   )
12              Plaintiff,         )         PRELIMINARY ORDER OF
                                   )         FORFEITURE AND PUBLICATION
13        v.                       )         THEREOF RE PERSONAL PROPERTY
                                   )         OF FRANCISCO TORRES
14   RAMIRO BARRAGAN,              )
     IGNACIO CALDERON,             )
15   ZEBEDEE WHITE,                )
     JASON LEE,                    )
16   EDGAR BARRAGAN,               )
     HUMBERTO LLERENA,             )
17     aka “El Cuba,”              )
     MARIA ALEJANDRINA ORCI-ROMERO,)
18   FRANCISCO TORRES,             )
       aka “El Topo,”              )
19   JORGE ISLAS,                  )
     ELIZABETH GUERRERO, and       )
20   SEILA MELGOZA,                )
                                   )
21              Defendants.        )
     ______________________________)
22
23        Based upon the plea agreement entered into between plaintiff
24   United States of America and defendant Francisco Torres, aka "El
25   Topo," it is hereby
26        ORDERED, ADJUDGED AND DECREED as follows:
27        1.   Pursuant to 21 U.S.C. § 853, the following property
28   shall be condemned and forfeited to the United States of America,

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1    to be disposed of according to law:
2                a.    One 2003 Cadillac Escalade, Vehicle
                       Identification Number (VIN)
3                      1GYEC63TX3R188297.
4         2.    The above-listed property was used or intended to be
5    used, in any manner or part, to commit and to facilitate the
6    commission of the violation of 21 U.S.C. §§ 841(a)(1) and
7    841(b)(1)(B).
8         3.    Pursuant to Rule 32.2(b), the Attorney General (or a
9    designee) shall be authorized to seize the above-described
10   property.    The aforementioned property shall be seized and held
11   by the United States Marshals Service, in its secure custody and
12   control.
13        4.     a.   Pursuant to 21 U.S.C. § 853(n) and Local Rule
14   83-171, the United States forthwith shall publish at least once
15   for three successive weeks in The Business Journal (Fresno
16   County), a newspaper of general circulation located in the county
17   in which the above-described property was seized, notice of this
18   Order, notice of the Attorney General’s and/or Secretary of
19   Treasury’s intent to dispose of the property in such manner as
20   the Attorney General and/or the Secretary of Treasury may direct,
21   and notice that any person, other than the defendant, having or
22   claiming a legal interest in the above-listed forfeited property
23   must file a petition with the Court within thirty (30) days of
24   the final publication of the notice or of receipt of actual
25   notice, whichever is earlier.
26               b.   This notice shall state that the petition shall be
27   for a hearing to adjudicate the validity of the petitioner's
28   alleged interest in the property, shall be signed by the

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1    petitioner under penalty of perjury, and shall set forth the
2    nature and extent of the petitioner's right, title or interest in
3    the forfeited property and any additional facts supporting the
4    petitioner's claim and the relief sought.
5                 c.   The United States may also, to the extent
6    practicable, provide direct written notice to any person known to
7    have alleged an interest in the property that is the subject of
8    the Order of forfeiture, as a substitute for published notice as
9    to those persons so notified.
10        5.     If a petition is timely filed, upon adjudication of all
11   third-party interests, if any, this Court will enter a Final
12   Order of Forfeiture pursuant to 21 U.S.C. § 853 in which all
13   interests will be addressed.
14
15   IT IS SO ORDERED.
16   Dated:    May 17, 2006                    /s/ Anthony W. Ishii
     0m8i78                              UNITED STATES DISTRICT JUDGE
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